                 Case 6:12-cr-00018-JRH-CLR Document 1237 Filed 05/31/16 Page 1 of 1
AO 247(Rev. 11/1 1} Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page 1 of2(Page 2 Not for Public Disclosure)
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                                       United States District Court                                                                          cour
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                                                                        for the

                                                           Southern District of Georgia                               2016 HAY 31 PM3=25
                                                                Statesboro Division
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                   United States of America                                                                                SSOIST.OFGA.
                                  V.                                      )
                                                                          ) CaseNo:           6:l2CR000l8-20
                    Lawrence Michael Drayton
                                                                          )
                                                                          ) USMNo: 1 1938-180
Date of Original Judgment:         July 30, 2013                          )
Date of Previous Amended Judgment:                                         ^ Matthew K. Hiibe
(Use Date ofLast Amended Judgment ifAny)                                       Defendant's Attoi-ney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C. § 3582(c)(2)
         Upon motion of          ^ the defendant          □ the Director of the Bureau of Prisons               □ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §181.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
         ^ DENIED.             □ GRANTED and the defendant's previously imposed sentence of imprisonment/£7j re/7ec/ei/m
the lastjudgment issued) of                                              months is reduced tO
                                             (Complete Parts / and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                        July 30, 2013         shall re^nain in effect.
IT IS SO ORDERED.


Order Date;
                                                                                                       uage s signature


                                                                    Dudley H. Bowen, Jr.
Effective Date:                                                     United Stales District Judge                     _
                    (ifdifferent from order dale)                                                 Printed name and title
